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UNSEALED UNITED STATES DISTRICT CoURT mgi§nddw
soUTHERN DISTRICT oF TEXAS
McALLEN DIVISIoN NOV 08 2016
UNITED sTATEs oF AMERICA § David .i. eradi¢,y, diem
v. § Criminal No.
§ M- 16 -16 2 7
JOSE LUIS SoTo-LoPEZ §
ERICA JANINE SoTo §
sEALED INDICTMENT
THE GRANI) JURY CHARGES:
Count One

On or about February lO, 2014 through September l, 2016, in the Southern District of

Texas and within the jurisdiction of the Court, defendants,
JOSE LUIS SOTO-LOPEZ
and
ERICA JANINE SOTO

knowing and in reckless disregard of the fact that individuals, who were aliens, had come to,
entered and remained in the United States in violation of law, did knowingly and intentionally
conspire and agree together and with other persons known and unknown to the Grand Jurors to
transport and move said aliens within the United States in furtherance of such violation of law, that
is, from locations in the Rio Grande Valley, Texas, to another location near Houston, Texas, by
foot and by means of a motor vehicle.

ln violation of Title 8, United States Code, Sections 1324(a)(1)(A)(v)(l), 1324(a)(l)(A)(ii),
and 1324(3)(1)(13)(1).

Count Two

On or about February 10, 2014 through September l, 2016, in the Southern District of

rean and within the jurisdiction ofihe Coun, defendanis,

 

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JOSE LUIS SOTO-LOPEZ
and
ERICA JANINE SOTO

knowing and in reckless disregard of the fact that individuals, who were aliens, had come to,
entered and remained in the United States in violation of law, did knowingly and intentionally
conspire and agree together and with other persons known and unknown to the Grand Jurors to
conceal, harbor, and shield from detection said aliens in any place, including any building or any
means of transportation, to witt in residences located near Alamo, Texas; Donna, Texas; Houston,
Texas; Mercedes, Texas; and Weslaco, Texas.

ln violation of Title 8, United States Code, Sections 1324(a)(l)(A)(v)(I),
l324(a)(1)(A)(iii), and 1324(a)(l)(B)(i).

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